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                    EXHIBIT 12
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                                                                       Page 1

1       UNITED STATES BANKRUPTCY COURT
2       DISTRICT OF DELAWARE
3
4
5       In re:                                :
                                              :    Chapter 11
6       ENERGY FUTURE HOLDINGS                :
        CORP.,      et al.,                   :    Case No. 14-10979(CSS)
7                                             :
                      Debtors.                :    (Jointly Administration
8       _________________________             :    Requested)
        CSC TRUST COMPANY OF DELAWARE,:
9       as INDENTURE TRUSTEE,                 :
                                              :
10                    Plaintiff,              :
                                              :
11            v.                              :      Adv. Proc. No. 14-50363
                                              :      (CSS)
12      ENERGY FUTURE INTERMEDIATE            :
        HOLDING COMPANY LLC and EFIH          :
13      FINANCE INC.,                         :
                                              :
14                    Defendants.             :
        ______________________________:
15
16
17
18                                      United States Bankruptcy Court
19                                      824 North Market Street
20                                      Wilmington, Delaware
21                                      July 1, 2014
22                                      9:35 AM - 5:18 PM
23
24
25

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                                                                      Page 125

1       like, but I believe it's in your pleadings binder there at

2       tab 31, if you want to take a look.

3             The debtor refers to the capital markets risk and says

4       that any delay causes significant risk with respect to these

5       rates, referring to the interest rates, that could both

6       significantly increase the cost of capital for the repayment

7       of the EFIH second lien notes and negatively affect the

8       valuation of Oncor.

9       A     Yes.   I remember it says that.

10      Q     And that's at page 15.

11      A     Yes.   I remember it says that.

12      Q     You're not aware of any subsequent plan if this DIP is

13      not approved to refinance the second lien notes as debt upon

14      emergence, correct?

15      A     Definitely not.    I think I've testified a couple of

16      times as to the lack of feasibility of that and --

17      Q     So the question is whether the interest rates will

18      affect the valuation of Oncor, is that the primary concern?

19      A     Well, obviously, interest rates could adversely affect

20      the value of Oncor.     We experienced in the period from -- I

21      think it was almost a full year ago, probably May of 2013

22      through August where the Federal Reserve started talking

23      about stopping quantitative easing.

24      Q     And you've not done any formal analysis of interest

25      rate movements over the next twelve to twenty-four months,

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1       opportunity to explain more fully his answer.

2                     THE COURT:   Yeah, I’ll allow it.

3                     UNIDENTIFIED:   That’s all I’m doing, Your Honor.

4                     THE COURT:   Overruled.

5       BY MR. UNIDENTIFIED:

6       Q     You had started to say when you were asked about this

7       provision on cross-examination, you had started to refer to

8       a relationship between interest rates and the value of

9       Encore.     Do you recall that?

10      A     Yes, I do.

11      Q     And what is it you were attempting to say then, can you

12      tell the Court now?

13      A     Sure.     I was attempting to say that in particular

14      during the summer of last year when we were negotiating with

15      the TCH lenders and the EFIH lenders about the relative

16      values of their respective companies, we experienced a

17      period of rising interest rates, and that led to a decline

18      in the valuation metrics that one would use to value Encore.

19      And that was causing a lot of angst on the part of the EFIH

20      unsecureds, and the TCEH constituency who we are asking to

21      merge with the EFIH unsecured creditors expressed a lack of

22      desire in making an offer to merge or establishing an

23      exchange ratio because they felt that the value of Encore

24      and EFIH was declining.

25      Q     All right.     And you observed a relationship between

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1       interest rates and Encore’s value?

2       A     Yes, we did.     As interest rates rose, Encore’s value

3       did decline.     And the valuation metrics we looked at like

4       multiples of earnings did go down during that period.

5       Q     Okay.    And what time period had you been observing

6       those kind of data with respect to interest rates on

7       Encore’s value?

8       A     Well, I was referring particularly to the time period

9       from I believe was May of 2013, so August of 2013 when there

10      was -- when the markets experienced a significant increase

11      in the rate of interest.

12      Q     Okay.    And does that observation have any bearing, and

13      if so, what is it on your recommendation in favor of the

14      debtors adoption of the proposed second lien DIP and make

15      whole settlement?

16      A     Well, obviously we don’t want to experience another

17      period where rates are rising and the value of Encore

18      declines because it would then mean that the economic terms

19      of the DIP facility that are currently are on offer would

20      potentially no longer be available to the debtor.

21      Q     All right.     Now, I want to turn to -- back to I think

22      Debtor’s Exhibit 2, which is the June 22nd, 2014 board

23      presentation.

24      A     I have it.

25      Q     Okay.    And if you could turn to page 4.         I think you

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